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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,          )
                                   )
                                   )
                                   )                           Cr. No. 21-081 (DLF)
                                   )
KEVIN DANIEL LOFTUS,               )
                                   )
                  Defendant.       )
__________________________________ )

             JOINT MOTION FOR CONTINUANCE OF STATUS HEARING

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, and Mr. Kevin Loftus, by and through his attorney, Dani Jahn, Esquire

(collectively, “the parties”) jointly move this Court to continue the Status Hearing currently

scheduled for July 28, 2021.

       On May 25, 2021, the parties appeared before this Court whereby the parties advised that

discovery was on-going. Upon request from the defense, this Court excluded time under the

Speedy Trial Act until July 28, 2021. See Minute Order, dated 5/25/21.

       Since that hearing, discovery continues to be provided. Further, the parties continue to

have discussions about a pretrial disposition in this matter. Therefore, the parties agree that it is

in the interest of justice to continue those discussions and thus request an exclusion of time under

the Speedy Trial Act pursuant to 18 U.S.C. § 3161(h)(7)(A).

       Accordingly, the parties request a continuance of approximately 60 days and an exclusion

of time under the Speedy Trial Act until that date.
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                           Respectfully submitted,

                           CHANNING D. PHILLIPS
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                           D.C. Bar No. 415793

                           _/s/ Emory V. Cole__________________________
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                           A.J. KRAMER
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                           __/s/____________________________
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